Case 2:19-cr-00093-Z-BR Document 54 Filed 08/06/20   Page 1 of 23 PageID 179
                                                                               1



    1                   IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
    2                            AMARILLO DIVISION

    3    UNITED STATES OF AMERICA           §
                                            §           CRIMINAL ACTION
    4    VS.                                §
                                            §        NO. 2:19-CR-93-Z (1)
    5    DAVIN SETH WATERS                  §

    6    =============================================================

    7                   TRANSCRIPT OF REARRAIGNMENT HEARING
                        BEFORE THE HONORABLE LEE ANN RENO
    8                      UNITED STATES MAGISTRATE JUDGE

    9
                                   NOVEMBER 25, 2019
  10
                                   AMARILLO, TEXAS
  11
        =============================================================
  12

  13                            A-P-P-E-A-R-A-N-C-E-S

  14

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  25    produced by computer.


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                               Official Court Reporter
Case 2:19-cr-00093-Z-BR Document 54 FiledIndex
                                          08/06/20   Page 2 of 23 PageID 180
                                                                                     2

    1                            VOLUME I (PAGES 1 - 23)

    2

    3                       PROCEEDINGS FOR NOVEMBER 25, 2019

    4                                                                          PAGE

    5   CAPTION/APPEARANCES................................................      1

    6   INDEX..............................................................      2

    7   REARRAIGNMENT PROCEEDINGS..........................................      3

    8   COURT'S EXAMINATION OF DEFENDANT...................................      3

    9   COURT'S FINDING ON CONSENT.........................................      6

  10    ESSENTIAL ELEMENTS READ............................................      7

  11    COURT'S FINDING ON DEFENDANT'S UNDERSTANDING OF CHARGES............      8

  12    PLEA AGREEMENT.....................................................      8

  13    DEFENDANT'S RIGHTS.................................................     10

  14    PENALTIES AND CONSEQUENCES.........................................     12

  15    DEFENDANT'S PLEA...................................................     18

  16    FACTUAL RESUMÉ.....................................................     18

  17    COURT'S FINDING ON PLEA............................................     20

  18    RECOMMENDATION TO DISTRICT JUDGE TO ACCEPT PLEA....................     21

  19    COURT'S SENTENCING SCHEDULE........................................     22

  20    PRESENTENCE REPORT PROCEDURES......................................     22

  21    REPORTER'S CERTIFICATE.............................................     23

  22

  23

  24

  25


                                 Stacy Mayes Morrison
                               Official Court Reporter
                             Rearraignment
Case 2:19-cr-00093-Z-BR Document              (11/25/2019)
                                 54 Filed 08/06/20 Page 3 of 23 PageID 181
                                                                             3



   1                     PROCEEDINGS FOR NOVEMBER 25, 2019

   2           (The following took place in open court with the

   3    defendant present.)

   4                THE COURT:    The Court calls for rearraignment,

   5    United States of America versus Davin Seth Waters,

   6    2:19-CR-93-Z-BR (1).

   7                MS. BELL:    The United States is ready, Your Honor.

   8                MR. ROPER:    Dean Roper for the Defendant, Your

   9    Honor.    We're ready to proceed.

  10                THE COURT:    Would you please raise your right hand,

  11    sir.

  12           (The defendant was sworn by the Court.)

  13                THE COURT:    All right.    Are you Davin Seth Waters?

  14                THE DEFENDANT:    Yes, ma'am.

  15                THE COURT:    Okay.   Do you intend to plead guilty to

  16    Count One of an indictment that charges you with

  17    Transportation of Minors with Intent to Engage in Criminal

  18    Sexual Activity?

  19                THE DEFENDANT:    I do.

  20                THE COURT:    Okay.   For purposes of the record, that

  21    statute can be found at 18, United States Code,

  22    Section 2423(a).

  23                Mr. Waters, before I can recommend that our

  24    District Judge accepts the plea of guilty that you intend to

  25    enter this morning, I'm going to have to ask you a lot of


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                             Rearraignment
Case 2:19-cr-00093-Z-BR Document              (11/25/2019)
                                 54 Filed 08/06/20 Page 4 of 23 PageID 182
                                                                              4



   1    questions, and there's two reasons for that.          First, I have

   2    to make certain that you understand all of the rights that

   3    you will be giving up by pleading guilty; second, I have to

   4    make certain that there are facts that will support the plea

   5    of guilty.

   6                Do you understand the reasons that there will be so

   7    many questions?

   8                THE DEFENDANT:    Yes, ma'am.

   9                THE COURT:    If I ask a question that you do not

  10    understand, will you feel comfortable telling me that I'm

  11    being unclear?

  12                THE DEFENDANT:    Yes, ma'am.

  13                THE COURT:    Okay.   Do you understand that at any

  14    point during the hearing today you have the ability to

  15    consult privately with your attorney?

  16                THE DEFENDANT:    Yes, ma'am.

  17                THE COURT:    Okay.   If you answer my questions then

  18    without telling me that I'm being unclear or without asking

  19    to talk to your attorney, can I assume that you have

  20    understood the question you're answering?

  21                THE DEFENDANT:    Yes, ma'am.

  22                THE COURT:    Do you understand that you are under

  23    oath, and if you answer any of these questions falsely, the

  24    Government could prosecute you for perjury or for making a

  25    false statement?


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                               Official Court Reporter
                             Rearraignment
Case 2:19-cr-00093-Z-BR Document              (11/25/2019)
                                 54 Filed 08/06/20 Page 5 of 23 PageID 183
                                                                             5



   1                THE DEFENDANT:    I understand.

   2                THE COURT:    I know I have said it, but would you

   3    please state your full name for our record, please, sir.

   4                THE DEFENDANT:    Davin Seth Waters.

   5                THE COURT:    How old are you?

   6                THE DEFENDANT:    I'm twenty-five, ma'am.

   7                THE COURT:    How far did you go in school, sir?

   8                THE DEFENDANT:    I went into -- graduated high

   9    school and have some college classes also.

  10                THE COURT:    Okay.   About how many hours of college

  11    classes would you estimate?

  12                THE DEFENDANT:    From 8 to 20, I believe.

  13                THE COURT:    Okay.   Have you been treated recently

  14    for any kind of mental illness?

  15                THE DEFENDANT:    No, ma'am.

  16                THE COURT:    Have you been treated recently for an

  17    addiction to narcotic drugs of my kind?

  18                THE DEFENDANT:    No, ma'am.

  19                THE COURT:    Are you currently under the influence

  20    of any drug, medication, or alcoholic beverage of any kind?

  21                THE DEFENDANT:    No, ma'am.

  22                THE COURT:    Before we go any further in the case, I

  23    want to go over the consent form that you would have signed

  24    before court.

  25                It explains that you have the right to have our


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                             Rearraignment
Case 2:19-cr-00093-Z-BR Document              (11/25/2019)
                                 54 Filed 08/06/20 Page 6 of 23 PageID 184
                                                                             6



   1    District Judge hear your plea of guilty, or you can choose to

   2    have a United States Magistrate Judge like myself take your

   3    guilty plea and then make a recommendation to the District

   4    Judge, who is our presiding judge, that he either accepts or

   5    rejects that plea.

   6                Did you have a chance to go over this consent form

   7    briefly with your attorney before the hearing today?

   8                THE DEFENDANT:    Yes, ma'am.

   9                THE COURT:    If you had any questions about this

  10    consent process, did you have an opportunity to get those

  11    questions answered?

  12                THE DEFENDANT:    Yes, ma'am.

  13                THE COURT:    And is that your signature down here in

  14    the bottom corner?

  15                THE DEFENDANT:    Yes, ma'am.

  16                THE COURT:    Would you like to proceed forward today

  17    with having your guilty plea taken in front of the United

  18    States Magistrate Judge?

  19                THE DEFENDANT:    Yes, ma'am.

  20                THE COURT:    Okay.   I find that the consent in the

  21    case has been knowingly and voluntarily given, and we'll

  22    proceed forward.

  23                Mr. Waters, have you been provided with a copy of

  24    the Indictment to which you intend to plead guilty?

  25                THE DEFENDANT:    Yes, ma'am.


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                             Rearraignment
Case 2:19-cr-00093-Z-BR Document              (11/25/2019)
                                 54 Filed 08/06/20 Page 7 of 23 PageID 185
                                                                             7



   1                THE COURT:    Before the hearing today, did you

   2    either read it yourself or have it read to you?

   3                THE DEFENDANT:    Yes, ma'am.

   4                THE COURT:    Have you fully discussed the charges in

   5    that Indictment as well as your entire case with your

   6    attorney?

   7                THE DEFENDANT:    I have.

   8                THE COURT:    We can have the Government's attorney

   9    read the Indictment out loud, or you can give up or waive

  10    that reading.     Which would you like?

  11                THE DEFENDANT:    I'd prefer to waive it, ma'am.

  12                THE COURT:    That's fine.     The one thing we do still

  13    have to do though is inform you of what the essential

  14    elements are of that offense.       In a moment, I'll have the

  15    Assistant U.S. Attorney read that aloud.

  16                Those are the factual matters that the Government

  17    would have to prove at any trial using competent evidence and

  18    beyond a reasonable doubt before you could be found guilty.

  19                MS. BELL:    "Count One.     Transportation of Minors

  20    with Intent to Engage in Criminal Sexual Activity.

  21                "First, that the defendant knowingly transported

  22    MV1 or MV2 in interstate commerce; second, that at the time

  23    of the transportation, MV1 or MV2 was less than 18 years old;

  24    and, third, that at the time of the transportation, the

  25    defendant intended that MV1 or MV2 would engage in unlawful


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                             Rearraignment
Case 2:19-cr-00093-Z-BR Document              (11/25/2019)
                                 54 Filed 08/06/20 Page 8 of 23 PageID 186
                                                                             8



   1    sexual activity."

   2                THE COURT:    Although you waived the reading of the

   3    Indictment, you did hear the essential elements of that

   4    offense being read to you.

   5                Do you understand the nature of this charge to

   6    which you intend to plead guilty?

   7                THE DEFENDANT:    Yes, ma'am.

   8                THE COURT:    Counsel, are you satisfied that your

   9    client does understand the nature of this charge?

  10                MR. ROPER:    Yes, Your Honor.

  11                THE COURT:    I find that Mr. Waters does understand

  12    the nature of the charge to which he intends to plead guilty

  13    today.

  14                Sir, are you fully satisfied with your attorney and

  15    the representation and advice that has been given to you in

  16    the case?

  17                THE DEFENDANT:    I am, ma'am.

  18                THE COURT:    The Court has your Plea Agreement and

  19    has reviewed it.     You have the right to have the document

  20    read out loud to you in court this morning, or you can give

  21    up that right.     Which would you like to do?

  22                THE DEFENDANT:    I'd like to waive it, ma'am.

  23                THE COURT:    Counsel, would you join in that waiver?

  24                MR. ROPER:    I do, Your Honor.

  25                THE COURT:    Before we started your hearing today,


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                             Rearraignment
Case 2:19-cr-00093-Z-BR Document              (11/25/2019)
                                 54 Filed 08/06/20 Page 9 of 23 PageID 187
                                                                             9



   1    sir, did you have an opportunity both to read and discuss the

   2    Plea Agreement with your attorney?

   3                THE DEFENDANT:    I did, ma'am.

   4                THE COURT:    Okay.   Do you understand all of the

   5    terms that are in your Plea Agreement?

   6                THE DEFENDANT:    I do, ma'am.

   7                THE COURT:    Okay.   Counsel, are you satisfied that

   8    Mr. Waters understands the terms of his agreement with the

   9    Government?

  10                MR. ROPER:    Yes, Your Honor.

  11                THE COURT:    Okay.   Sir, do you have any changes or

  12    corrections to make to the agreement?

  13                THE DEFENDANT:    No, ma'am.

  14                THE COURT:    Counsel, would you have any?

  15                MR. ROPER:    No, ma'am.

  16                THE COURT:    As I look at the back page of the

  17    agreement, Mr. Waters, it appears that you have signed it.

  18    Is that your signature both at the top and the bottom of this

  19    last page?

  20                THE DEFENDANT:    Yes, ma'am.

  21                THE COURT:    Counsel, is that yours underneath?

  22                MR. ROPER:    Yes, Your Honor.

  23                THE COURT:    Mr. Waters, are you pleading guilty

  24    today based on any promises by anyone other than those that

  25    are written down in this agreement?


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                             Rearraignment
Case 2:19-cr-00093-Z-BR Document               (11/25/2019)
                                 54 Filed 08/06/20 Page 10 of 23 PageID 188
                                                                              10



    1               THE DEFENDANT:     No, ma'am.

    2               THE COURT:    Has anyone threatened you or attempted

    3    to force you to plead guilty in the case today?

    4               THE DEFENDANT:     No, ma'am.

    5               THE COURT:    Are you pleading guilty voluntarily and

    6    of your own free will because you are guilty?

    7               THE DEFENDANT:     Yes, ma'am.

    8               THE COURT:    Do you understand that by pleading

    9    guilty to a felony offense, if our District Judge accepts

   10    that plea, you will be adjudged guilty, and then that

   11    judgment can deprive you of valuable civil rights, such as

   12    the right to vote, the right to serve on a jury, the right to

   13    hold public office, and the right to possess any kind of a

   14    firearm?

   15               THE DEFENDANT:     I understand.

   16               THE COURT:    Do you understand that under the

   17    Constitution and laws of our country you have the right to

   18    plead not guilty and are entitled to a trial by a jury on the

   19    charge in the Indictment?

   20               THE DEFENDANT:     I understand.

   21               THE COURT:    Do you understand that, at trial and

   22    every other part of your case, you're entitled to have the

   23    assistance of an attorney?

   24               THE DEFENDANT:     I understand.

   25               THE COURT:    Do you understand that at trial you


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                             Rearraignment
Case 2:19-cr-00093-Z-BR Document               (11/25/2019)
                                 54 Filed 08/06/20 Page 11 of 23 PageID 189
                                                                              11



    1    would be presumed to be innocent, and that the Government

    2    would have to prove your guilt with competent evidence and

    3    beyond a reasonable doubt before you could be found guilty,

    4    and that you don't have to prove your innocence?

    5               THE DEFENDANT:     I understand, ma'am.

    6               THE COURT:    Do you understand that during trial the

    7    Government's witnesses would have to come to the courthouse

    8    and testify in front of you, so that you could see and hear

    9    what they were saying, and then have your attorney ask them

   10    questions on cross-examination?

   11               THE DEFENDANT:     I understand.

   12               THE COURT:    Do you also understand that you would

   13    have the right to testify and present evidence on your own

   14    behalf if you wanted to do so voluntarily, but that you

   15    couldn't be forced to testify against yourself?

   16               THE DEFENDANT:     I understand.

   17               THE COURT:    Do you further understand that if you

   18    decided not to testify or present any evidence, those facts

   19    could not be used against you?

   20               THE DEFENDANT:     I understand.

   21               THE COURT:    Are you aware that your lawyer could

   22    issue legal documents that we call subpoenas that would force

   23    favorable witnesses to come into the courthouse and testify

   24    on your behalf?

   25               THE DEFENDANT:     I am aware.


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                               Official Court Reporter
                             Rearraignment
Case 2:19-cr-00093-Z-BR Document               (11/25/2019)
                                 54 Filed 08/06/20 Page 12 of 23 PageID 190
                                                                              12



    1               THE COURT:    Do you understand that if you do plead

    2    guilty today, and the District Judge accepts that plea, you

    3    will be giving up your right to a jury trial as well as all

    4    of these other rights I just described?

    5               THE DEFENDANT:     I understand.

    6               THE COURT:    Do you further understand that you will

    7    be giving up your right not to testify against yourself,

    8    because I will ask you questions to establish that you are

    9    guilty, and you will have to admit your guilt?

   10               THE DEFENDANT:     I understand.

   11               THE COURT:    I need to inform you of what the

   12    potential penalties and consequences are of a conviction for

   13    this offense to which you intend to plead guilty and make

   14    sure you understand each of these.

   15               Do you understand that the maximum period of

   16    imprisonment is life and the minimum period of imprisonment

   17    is ten years?

   18               THE DEFENDANT:     Yes, ma'am.

   19               THE COURT:    Do you understand that you might be

   20    assessed a fine, the largest of $250,000, or double the gross

   21    money gain derived by you from the offense or double the

   22    gross money loss caused by the offense to any person?

   23               THE DEFENDANT:     I understand.

   24               THE COURT:    Do you understand you will be ordered

   25    to make full restitution in the form of money, or services in


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                             Rearraignment
Case 2:19-cr-00093-Z-BR Document               (11/25/2019)
                                 54 Filed 08/06/20 Page 13 of 23 PageID 191
                                                                              13



    1    lieu of money, to any victim of the offense because

    2    restitution is mandatory by statute?

    3               THE DEFENDANT:     I understand.

    4               THE COURT:    Are you aware you will be required to

    5    pay a mandatory special assessment of $100?

    6               THE DEFENDANT:     I understand.

    7               THE COURT:    Do you also understand that, unless the

    8    Court finds you are indigent, you will have to pay an

    9    additional assessment of 500,000 -- excuse me, $5,000 in

   10    accordance with 18, United States Code, Section 3014?

   11               THE DEFENDANT:     I understand.

   12               THE COURT:    Are you aware that you may be ordered

   13    to forfeit certain property to the United States?

   14               THE DEFENDANT:     I am.

   15               THE COURT:    Are you also aware you may be ordered

   16    to pay the costs of incarceration and supervision?

   17               THE DEFENDANT:     I'm aware.

   18               THE COURT:    Finally, do you understand that you

   19    must serve a mandatory period of supervised release of no

   20    less than five years and no more than life?

   21               THE DEFENDANT:     Yes, ma'am.

   22               THE COURT:    Okay.   With respect to supervised

   23    release, do you understand that that is a period of time that

   24    would follow your release from any term of imprisonment and

   25    is subject to such terms and conditions as the Court can


                                 Stacy Mayes Morrison
                               Official Court Reporter
                             Rearraignment
Case 2:19-cr-00093-Z-BR Document               (11/25/2019)
                                 54 Filed 08/06/20 Page 14 of 23 PageID 192
                                                                              14



    1    impose under the law, and, further, that if you were to

    2    violate any of those terms and conditions while on release,

    3    you could be sent back to prison for the entire term of your

    4    supervised release period without receiving credit for any

    5    time you had already been out of prison and under supervised

    6    release?

    7               THE DEFENDANT:     I'm aware.

    8               THE COURT:    Has anyone made any prediction or

    9    promise to you as to what your sentence actually will be?

   10               THE DEFENDANT:     No, ma'am.

   11               THE COURT:    Do you understand that it is our

   12    District Judge, and he alone, that will decide your sentence?

   13               THE DEFENDANT:     I understand.

   14               THE COURT:    All right.    Do you understand that, in

   15    deciding what your sentence will be, the District Judge is

   16    required to consider the United States Sentencing Guidelines,

   17    meaning he has to take those into account as well as the

   18    punishment range that is in the guidelines, but that neither

   19    of those things are binding on him?

   20               THE DEFENDANT:     I understand.

   21               THE COURT:    Do you understand the law requires our

   22    District Judge to impose a sentence that does several things:

   23    Reflect the seriousness of your offense, promote respect for

   24    the law, provide just punishment, afford adequate deterrence,

   25    protect the public, and effectively provide you with any


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                               Official Court Reporter
                             Rearraignment
Case 2:19-cr-00093-Z-BR Document               (11/25/2019)
                                 54 Filed 08/06/20 Page 15 of 23 PageID 193
                                                                              15



    1    needed educational or vocational training, medical care, or

    2    other correctional treatment?

    3               THE DEFENDANT:       I understand.

    4               THE COURT:    Have you and your attorney talked about

    5    how the sentencing guidelines might possibly apply in your

    6    case?

    7               THE DEFENDANT:       We have.

    8               THE COURT:    Do you understand that those guidelines

    9    provide the District Judge take into account various factors,

   10    such as the actual conduct in which you engaged, to consider

   11    any victims of your offense, the role that you played, and

   12    then whether you have accepted responsibility for your

   13    relevant conduct or have attempted to obstruct justice?

   14               THE DEFENDANT:       I understand.

   15               THE COURT:    Do you understand that your criminal

   16    history is an important factor under the guidelines?

   17               THE DEFENDANT:       Yes, ma'am.

   18               THE COURT:    When you discussed the guidelines with

   19    your attorney, did he offer you an opinion or estimate as to

   20    how they might apply in your case so that you could determine

   21    if you wanted to plead guilty or not?

   22         (Attorney/client sotto-voce conference.)

   23               MR. ROPER:    Could you repeat that for him, please.

   24               THE COURT:    Yes.     When you and Mr. Roper were

   25    discussing the United States Sentencing Guidelines and how


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                             Rearraignment
Case 2:19-cr-00093-Z-BR Document               (11/25/2019)
                                 54 Filed 08/06/20 Page 16 of 23 PageID 194
                                                                              16



    1    they might potentially apply in your case, did he provide you

    2    with some kind of estimate or opinion as to how the

    3    guidelines could possibly work in your situation, and then

    4    did that opinion or estimate assist you in deciding whether

    5    or not you wanted to plead guilty or go to trial?

    6               THE DEFENDANT:     Yes, ma'am.

    7               THE COURT:    Okay.   Do you understand that, when

    8    your attorney gave you that opinion or estimate, even though

    9    he is someone who has a lot of expertise and experience in

   10    criminal law, that he still can't promise or guarantee you

   11    that his opinion is correct, and, in fact, what our District

   12    Judge determines as your sentence could be different than the

   13    opinion or estimate your attorney gave you?

   14               THE DEFENDANT:     I understand.

   15               THE COURT:    Do you understand that neither our

   16    District Judge nor your attorney can determine the guideline

   17    range in your case until after a probation officer completes

   18    a Presentence Report, and then you and the Government have a

   19    chance to read that report and object to the facts in the

   20    report and to the guideline range in the report?

   21               THE DEFENDANT:     I understand.

   22               THE COURT:    Do you understand that no one,

   23    including your lawyer, can predict in advance what your

   24    sentence will be?

   25               THE DEFENDANT:     Yes, ma'am, I understand.


                                 Stacy Mayes Morrison
                               Official Court Reporter
                             Rearraignment
Case 2:19-cr-00093-Z-BR Document               (11/25/2019)
                                 54 Filed 08/06/20 Page 17 of 23 PageID 195
                                                                              17



    1               THE COURT:    Do you understand that, after the

    2    guideline range in your case has been determined, the

    3    District Judge has the authority to impose a sentence that is

    4    more severe than what is called for under the guidelines?

    5               THE DEFENDANT:     Yes, ma'am.

    6               THE COURT:    Do you understand that, pursuant to the

    7    terms of your Plea Agreement, you have given up your right to

    8    appeal except in some limited circumstances that were set out

    9    in the case?

   10               THE DEFENDANT:     I understand.

   11               THE COURT:    Or I should say set out in the

   12    agreement, excuse me.

   13               THE DEFENDANT:     I understand.

   14               THE COURT:    Do you understand that parole for the

   15    offense to which you intend to plead guilty has been

   16    abolished, so that if you are sentenced to prison, you will

   17    not be released on parole?

   18               THE DEFENDANT:     I understand.

   19               THE COURT:    Finally, do you understand that, if the

   20    sentence the District Judge imposes is more severe than what

   21    you have expected, you will still be bound by this plea of

   22    guilty today, and you will have no right to withdraw it?

   23               THE DEFENDANT:     I understand.

   24               THE COURT:    Having been informed of your rights and

   25    the possible consequences of pleading guilty, how do you


                                 Stacy Mayes Morrison
                               Official Court Reporter
                             Rearraignment
Case 2:19-cr-00093-Z-BR Document               (11/25/2019)
                                 54 Filed 08/06/20 Page 18 of 23 PageID 196
                                                                               18



    1    plead to Count One of the Indictment; guilty or not guilty?

    2               THE DEFENDANT:     Guilty.

    3               THE COURT:    Before I can recommend that our

    4    District Judge accept that plea of guilty that you have

    5    entered, I will have to ask you the second set of questions

    6    that I mentioned at the beginning to make certain that there

    7    are facts that will support that plea of guilty.

    8               MS. BELL:    I apologize for interrupting the Court.

    9    I'm standing in for Mr. Taylor on this case.

   10               I noticed that the filed copy of the Factual Resumé

   11    only has four pages, but the original has five.          I just want

   12    to make sure that he got that corrected with the Court, and,

   13    if not, I do have an original that we could ask to

   14    substitute, but Page 3 is missing from the Factual Resumé

   15    that was filed, Your Honor.

   16               MR. ROPER:    We have -- we were provided a complete

   17    set of the Factual Resumé, Your Honor, and we would waive the

   18    reading of the Factual Resumé.

   19               MS. BELL:    Does the Court's file-stamped copy

   20    reflect all five pages, or is Page 3 missing in that copy?

   21               THE COURT:    I'm not logged on to ECF.       Mr. Kordes

   22    may be able to do that.      The copy that we printed from ECF

   23    though is missing Page 3.

   24               MS. BELL:    I suspect it has not been corrected,

   25    because my file hasn't.


                                  Stacy Mayes Morrison
                                Official Court Reporter
                             Rearraignment
Case 2:19-cr-00093-Z-BR Document               (11/25/2019)
                                 54 Filed 08/06/20 Page 19 of 23 PageID 197
                                                                              19



    1                Would the Court accept the full Factual Resumé and

    2    substitute it for the one that's in ECF?

    3                THE COURT:    Yes.     We can do that if there are no

    4    objections.

    5                MR. ROPER:    We have no objections, Your Honor.

    6                MS. BELL:    Thank you, Your Honor.     Do you want the

    7    copy now?

    8                THE COURT:    You can go ahead and just give that to

    9    Mr. Kordes, and he will take care of replacing the image that

   10    is on our electronic case system with the one that has all of

   11    the pages --

   12                MS. BELL:    Thank you, Your Honor.

   13                THE COURT:    -- on it.

   14                Mr. Waters, your counsel mentioned that you would

   15    waive the reading of the Factual Resumé.         Is that correct,

   16    sir?

   17                THE DEFENDANT:       Yes, ma'am.

   18                THE COURT:    Okay.     Before the proceeding this

   19    morning, did you either read the entire five pages of the

   20    Factual Resumé, or have it read to you?

   21                THE DEFENDANT:       I did, ma'am.

   22                THE COURT:    Okay.     Do you understand everything

   23    that is in the Factual Resumé?

   24                THE DEFENDANT:       Yes, ma'am.

   25                THE COURT:    Do you have any changes or corrections


                                   Stacy Mayes Morrison
                                 Official Court Reporter
                             Rearraignment
Case 2:19-cr-00093-Z-BR Document               (11/25/2019)
                                 54 Filed 08/06/20 Page 20 of 23 PageID 198
                                                                              20



    1    to make?

    2               THE DEFENDANT:     No, ma'am.

    3               THE COURT:    Counsel, would you have any changes or

    4    corrections to make other than the one we just discussed in

    5    terms of making the electronic record complete?

    6               MR. ROPER:    No, Your Honor.

    7               THE COURT:    As I look at the last page of this, it

    8    appears that you did sign that.       Is that your signature, Mr.

    9    Waters?

   10               THE DEFENDANT:     Yes, ma'am.

   11               THE COURT:    Counsel, is that yours underneath?

   12               MR. ROPER:    Yes, Your Honor.

   13               THE COURT:    Mr. Waters, do you admit on your oath

   14    in court today that this Factual Resumé is true and correct

   15    in every respect?

   16               THE DEFENDANT:     Yes, ma'am.

   17               THE COURT:    Do you also admit on your oath in court

   18    this morning that you committed the essential elements of the

   19    offense that is charged in Count One of the Indictment?

   20               THE DEFENDANT:     Yes, ma'am.

   21               THE COURT:    Being satisfied with the responses that

   22    have been given during the hearing this morning, I make the

   23    following finding on the record:

   24               In the case of the United States of America versus

   25    Davin Seth Waters, 2:19-CR-93-Z-BR (1), I find that Mr.


                                 Stacy Mayes Morrison
                               Official Court Reporter
                             Rearraignment
Case 2:19-cr-00093-Z-BR Document               (11/25/2019)
                                 54 Filed 08/06/20 Page 21 of 23 PageID 199
                                                                                21



    1    Waters is fully competent and capable of entering an informed

    2    plea.    His plea of guilty to Count One of the Indictment is a

    3    knowing and voluntary plea that is supported by an

    4    independent basis in fact that contains each of the essential

    5    elements charged by the offense in Count One of the

    6    Indictment.

    7               The Court recommends that his plea of guilty be

    8    accepted by our District Judge, and if it is, he then will be

    9    adjudged guilty of the offense charged by Count One of the

   10    Indictment.

   11               Mr. Waters, I have a document that's entitled

   12    Report and Recommendation Concerning Plea of Guilty.           I will

   13    sign that this morning.      We will file it in your case later

   14    today.

   15               THE DEFENDANT:     Yes, ma'am.

   16               THE COURT:    That is my way to formally communicate

   17    to the District Judge that I am recommending that he accept

   18    the plea of guilty you have already entered.

   19               Once it is filed, you will have 14 days from today

   20    to make any kind of objection that you may want to make

   21    through your attorney to the fact that I'm recommending the

   22    guilty plea be accepted.

   23               As we mentioned earlier, there will be a probation

   24    officer who prepares a Presentence Report in your case.              That

   25    is done to assist the District Judge with his decisions


                                 Stacy Mayes Morrison
                               Official Court Reporter
                             Rearraignment
Case 2:19-cr-00093-Z-BR Document               (11/25/2019)
                                 54 Filed 08/06/20 Page 22 of 23 PageID 200
                                                                              22



    1    concerning an appropriate sentence.

    2               Because I am not the one who will handle the

    3    sentencing phase of your case, I can't tell you the exact

    4    dates when things will occur after today.

    5               What I can tell you though is that normally, within

    6    a day or two after a hearing like this, the District Judge

    7    will enter his own order that sets out the schedule for the

    8    rest of your case.     It will have the date of your sentencing

    9    hearing in that order.      It will give you a lot of other

   10    important information.

   11               One of the things it will say is that at the

   12    hearing the Judge will hear from you, your attorney, and up

   13    to three witnesses on your behalf.        If you would like to have

   14    people write letters to him that talk about your character,

   15    you can have that done as well, and as long as your attorney

   16    gets those letters to the District Judge before your

   17    sentencing hearing, he will read all of those letters.

   18               The last thing I want to explain is with respect to

   19    the Presentence Report that will be prepared.         You very

   20    likely will be asked to meet with the probation officer to

   21    help get that report prepared, and your attorney can be there

   22    with you when you have that meeting.        Your cooperation in

   23    that whole process is very important.        That is because the

   24    Presentence Report that is being prepared will serve as the

   25    basis to calculate the sentencing guideline range in your


                                 Stacy Mayes Morrison
                               Official Court Reporter
                             Rearraignment
Case 2:19-cr-00093-Z-BR Document               (11/25/2019)
                                 54 Filed 08/06/20 Page 23 of 23 PageID 201
                                                                              23



    1    case.

    2               Also, the probation officer who prepares that

    3    report has the ability to recommend a decrease in your

    4    offense level for acceptance of responsibility.

    5               THE DEFENDANT:     I understand.

    6               THE COURT:    Okay.    Do you have any questions about

    7    what we've covered this morning, sir?

    8               THE DEFENDANT:     No, ma'am.

    9               THE COURT:    Okay.    That's everything for your case

   10    today.   Good luck to you as you finish out everything in this

   11    matter, sir.

   12               THE DEFENDANT:     Thank you, ma'am.

   13               MR. ROPER:    Thank you, Your Honor.

   14               THE COURT:    Thank you.       We'll be in recess.

   15               COURT SECURITY OFFICER:         All rise.

   16         (End of Rearraignment for 11/25/2019.)

   17                              *   *   *   *   *   *

   18         I certify that the foregoing is a correct transcript

   19    from the record of proceedings in the above-entitled matter.

   20    I further certify that the transcript fees format comply with

   21    those prescribed by the Court and the Judicial Conference of

   22    the United States.

   23

   24    s/Stacy Mayes Morrison                    8/6/2020
         Stacy Mayes Morrison                      Date
   25    Official Court Reporter


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                               Official Court Reporter
